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ESTADO LIBRE ASOCIADO DE PUERTO RICO
TRIBUNAL DE PRIMERA INSTANGCIA
CENTRO JUDICIAL DE QUEBRADILLAS
SALA SUPERIOR

 

NELSON HERNANDEZ GRAULAU y
ANA M. GRAULAU COLLAZO .
Demandantes CIVIL NUM.: CM2019CV00472

Vis SOBRE: DANOS Y PERJUICIOS

Impericia Médica
CAMUY HEALTH SERVICES, INC.
(CDT de CAMUY); CORPORACION
“X"; DR. GEORGE MALDONADO, por
si y en representacion de la Sociedad
Legal de Gananciales que compone
con SUTANA DE TAL; FULANO DE
TAL; JOHN DOE y COMPANIAS
ASEGURADORAS “A”, “B”, Y “C”
Demandados

 

 

 

DEMANDA ENMENDADA

AL HONORABLE TRIBUNAL:

Comparece La Parte Demandante de epigrafe, a través de su representacién

legal que suscribe y ante este Honorable Tribunal, muy respetuosamente EXPONE,
ALEGA Y SOLICITA:

LAS PARTES
PARTE DEMANDANTE

1. El co-demandante, Nelson Hernandez Graulau es soltero, incapacitado
a consecuencia de la negligencia que mas adelante se relaciona en la presente
demanda y vecino de Camuy, Puerto Rico.

2. La co- demandante, Ana M. Graulau Collazo, es soltera, madre del sefor

Nelson Hernandez Graulau y vecina de Camuy, Puerto Rico.

3. La direccién de las Partes Demandantes, antes mencionada, es: HC-04
Box 17644, Camuy, Puerto Rico 00627.

PARTES DEMANDADAS

4, El co-demandado, Camuy Health Services, Inc. (también conocido
como CDT de Camuy), es una institucién de cuidado médico, patrono y/o

supervisor y/o es quien se beneficia econdémicamente del personal médico,
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paramédico, personal de enfermeria y cuyos agentes o empleados incurrieron en
negligencia al no brindar tratamiento médico adecuado, diagnosticar, atender,
examinar, evaluar y/o trasladar al sefior Hernandez Graulau, y que para el dia 27
de julio de 2018, incurriendo en los actos y omisiones negligentes, que mas
adelante se describen, causando severos dafos al senor Nelson Hernandez
Graulau, por lo que responde solidaria y vicariamente ante los demandantes por

los dafos sufridos y que mas adelante se relacionan.

5, La direccion fisica y postal de la Parte Demandada, antes mencionada,
es: Avenida Mufios Rivera #63 Camuy, PR 00627.

6. La co-demandada, Corporacién “xX”, Cuyo verdadero nombre se
desconoce al presente, es una corporacién doméstica o foranea, autorizada a
hacer negocios en Puerto Rico que, para el dia 27 de julio de 2018, operaba y
administraba el co-demandado, Camuy Health Services, Inc. (también
conocido como CDT de Camuy), o alguno de sus departamentos, y cuyos
agentes o empleados incurrieron en actos y omisiones negligentes que causaron
los dafios sufridos por el co-demandante, Nelson Hernandez Graulau. Se les
denomina en este momento por nombre  ficticio por desconocerse l(los)
verdaderos, los cuales se notificara(n) tan pronto se identifique(n), y responde

solidariamente con los demas co-demandados.

Ts El co-demandado Dr. George Maldonado, por si y en representacién de
la Sociedad Legal de Gananciales que compone con la co-demandada Sutana de
Tal, es médico de profesién, quien el dia 27 de julio de 2018 pertenecia a la
facultad de médicos del Camuy Health Services, Inc. (también conocido como
CDT de Camuy) por ser el médico de turno de la Sala de Emergencia de dicha
institucién de salud, y estaba a cargo de atender, examinar, diagnosticar y tratar
médicamente al co-demandante, Nelson Herndndez Graulau en el CDT de
Camuy, y que al hacerlo incurriéd en los actos y omisiones negligentes que mas
adelante se describen, con los que causé los dafios sufridos por los demandantes

que se relacionan mas adelante, y responde solidariamente con los demas co-
demandados.

8. La co-demandada Sociedad Legal de Gananciales constituida por el
co-demandado Dr, George Maldonado y su esposa Sutana de Tal, quienes se
beneficiaron de los actos de éste, por lo que son responsables ante /os
demandantes por los dafios cuya indemnizacién mas adelante se reclama.
Responde solidariamente con los demas co-demandados.
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9. Que el co-demandado, Fulano De Tal es 0 son cualesquiera persona (s)
natural (es) o juridica(s), agencia(s) privada(s), gubernamental(es), municipio(s) o
entidad(es) que pudiese(n) ser responsable(s) a los co-demandantes, o en alguna
otra manera fuese(n) responsable(s) ante los hechos que aqui se detallan, ya sea
por ser el(los) administrador(es) y/o poseedor(es) y/o encargado(s) y/o por
cualquier otra responsabilidad que surja del Descubrimiento de Prueba a
realizarse. Se les denomina en este momento por nombre ficticio por desconocerse
el(los) verdaderos, los cuales se notificara(n) tan pronto se identifique(n), y

responde solidariamente con los demas co-demandados.

10. En la alternativa, el co-demandado John Doe, persona natural 0 juridica
de identidad desconocida; y que es responsable por las actuaciones negligentes

que mas adelante se relacionan, y responde solidariamente con los demas co-
demandados,

11. Hemos denominado a las Compafiias Aseguradoras “A”, “B” y “C”,
cuyos verdaderos nombres se desconocen al presente, son compafiias de seguros
debidamente autorizadas por el Comisionado de Seguros de Puerto Rico que, para
la fecha mencionada en esta demanda, mantenfan en vigor polizas de seguros a
favor de los co-demandados, para responder ante los demandantes por los dafios
cuya indemnizacién mas adelante se reclama y quien responde solidariamente. Se
les denomina en este momento por nombre ficticio por desconocerse el o los
verdaderos cuales se notificara (n) tan pronto se identifique (n).

LOS HECH

12. El pasado 27 de julio de 2018, a eso de las 4:00 p.m., el co-demandante,
Nelson Hernandez Graulau, de 43 afios de edad tuvo que recurrir de emergencia
ala Sala de Emergencia del CDT de Camuy por presentar lengua pesada (tenla
dificultad del habla), la cara con debilidad (sin fuerza) entumecida/adormecida con
la boca virada hacia lado izquierdo (cara caida), pérdida de vision, debilidad en

extremidades lado derecho (brazo y mano derecha).

13. En el CDT de Camuy, le toman los vitales al co-demandante, Nelson
Hernandez Graulau, resultando en una presion_arterial_de_235/132, pero
lamentablemente ante estos sintomas y hallazgos el doctor’ no le brindo el
tratamiento adecuado, correcto y oportuno para la condiciédn que presentaba el
sefior Hernandez Graulau y le da de alta para el hogar, a eso de las 11:20 p.m.
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14. El co-demandante, Nelson Herndndez Graulau tuvo que ser llevado al

proximo dia, 28 de julio de 2018, al Hospital Metropolitano Dr. Susoni en Arecibo,

debido a que presentd severo dolor de cabeza, convulsiones con severos y

continuos movimientos involuntarios en su cara y cuello, espuma en la boca con

problema respiratorio y severos movimiento en los ojos, visién borrosa, falta de

sensacién en extremidades, severa dificultad de movimiento, adormecimiento y

debilidad en mano derecha, balbuceando — dificultad del habla, y labio desviado

hacia el lado izquierdo (left commissure deviation) y pardlisis facial acompafiado de
confusion.

15. En el Hospital Metropolitano Dr. Susoni evaluan al co-demandante,
Nelson Hernandez Graulau y le encuentran Intracerebral hemorrhage (ICH) - lado
izquierdo (cerebellar stroke) por lo que de inmediato lo transfieren en ambulancia al
Centro Medico de Puerto Rico donde fue admitido.

16. Conforme a la buena prdactica de la medicina, de haberse brindado el
tratamiento adecuado, correcto y oportuno (a tiempo) al co-demandante, Nelson
Herndndez Graulau, cuando éste fue al CDT de Camuy, se hubiere podido
prevenir el Intracerebral hemorrhage (ICH) - lado izquierdo (cerebellar stroke),
severas secuelas y complicaciones.

17. Fue la falta de cuidado y pericia del personal del CDT de Camuy y del Dr.
George Maldonado al no atender adecuadamente ni brindar un tratamiento
adecuado de emergencia al co-demandante, Nelson Hernandez Graulau, cuando
éste acudié al CDT de Camuy el dia 27 de julio de 2018, con sintomas claros de

 

 

desarrollo (inminente) y/o en proceso de un derrame cerebral (1) Debilidad facial
(presentando boca virada hacia lado izquierdo); (2) Dificultad para hablar (lengua
pesada): (3) Debilidad extremidad lado derecho; (4) Pérdida de vision y (5) Presion

arterial alta, apartandose asi de los estandares aceptados dentro de la profesién

 

medica, lo que causé que co-demandante, Nelson Hernandez Graulau sufriera
Intracerebral hemorrhage (ICH) - lado izquierdo (cerebellar stroke), severas

secuelas y complicaciones por no haber sido atendido adecuada y oportunamente.

18. En la alternativa, fue la falta de cuidado y pericia del personal del CDT de
Camuy y del Dr. George Maldonado por no informar ni ofrecerle al co-
demandante, Ne/son Hernandez Graulau la alternativa de traslado de inmediato a
otra instituci6n medica hospitalaria para recibir un tratamiento adecuado a tiempo

ante la condicién que presentaba, lo que le causo que posteriormente (al dia

 

br, George Maldonado.
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siguiente), el sefior Hernandez Graulau, sufriera Intracerebral hemorrhage (ICH) -
lado izquierdo (cerebellar Stroke), severas secuelas y complicaciones que pudieron

evitarse de haber recibido un tratamiento adecuado, correcto y a tiempo.

19. El co-demandante, Nelson Hernandez Graulau, sufrid y sufre severos
dafios fisicos que de haber recibido el tratamiento adecuado, correcto y a tiempo le
hubiesen evitado. A consecuencia de la negligencia de los co-demandados, el
sefhor Nelson Hernandez Graulau, presenta paralisis (hemiplejia) del lado derecho
del cuerpo lo que le incapacita para realizar movimientos, le causa dolor fisico,
severa dificultar de ambulacion, dificultad del habla, dafio visual, incapacidad para
continuar trabajar y lo que ademas sin lugar a dudas tiene un efecto por disturbios
emocionales por el influjo indeseable de su condicion, ademas temor e
incomodidades de ser estigmatizado por sus diferencias fisicas, y por todas las
severas secuelas por no haber recibido un tratamiento adecuado, correcto y a

tiempo a causa del mal manejo médico en el CDT de Camuy, aquel 27 de julio de
2018.

20. Los dafios ocasionados al co-demandante, Nelson Herndndez Graulau le
han privado del disfrute de la buena calidad de vida que mantenia con anterioridad
alos hechos resefados en esta demanda.

21. En adicién a las molestias fisicas que le aquejan, al co-demandante,
Nelson Hernandez Graulau, ha sufrido graves angustias mentales al experimentar

la pérdida de movilidad e independencia de la que disfrutaba previo a los hechos en
esta Demanda resefados.

22. La co-demandante Ana £. Graulau Collazo sufrié y sufre graves angustias
mentales al ver su hijo sufrir como consecuencia de haber sufrido Intracerebral
hemorrhage (ICH) - lado izquierdo (cerebellar stroke), severas secuelas y
complicaciones que le causé pardlisis (hemiplejia’) del lado derecho del cuerpo y le
incapacita para realizar movimientos, le causa dolor fisico, severa dificultar de
ambulacion, dificultad del habla y dafio visual e incapacidad para continuar
trabajando a causa del mal manejo médico por la negligencia crasa, antes descrita,
en el CDT de Camuy, aquel 27 de julio de 2018.

NEGLIGENCIA - RESPONSABILIDAD
23. Fue negligente el co-demandado, CDT de Camuy, por no brindar

tratamiento médico adecuado/correcto y Oportuno; y al no trasladar ni referir de
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inmediato a otra institucién médica al co-demandante, Nelson Hernandez
Graulau, quien acudié a sus facilidades médicas con _sintomas claros de un
desarrollo_(inminente) y/o en proceso de un derrame cerebral que requeria

intervencién adecuada a tiempo para evitarle los severos dafios.

24. En el co-demandado, CDT de Camuy, donde fue atendido
negligentemente al co-demandante, Nelson Hernandez Graulau por el médico de
turno, Dr. George Maldonado, personal de enfermeria y cada uno de ellos, alguno
de ellos 0 todos ellos incurrieron en negligencia durante el dia 27 de julio de 2018,
apartandose de la mejor practica de la medicina. Dicho personal, omitid brindar el
tratamiento adecuado y ofrecer e instruir las alternativas necesarias para evitar el
desarrollo de los padecimientos de nuestro representado, antes descritos,
apartandose de la mejor practica de la medicina.

25. En el CDT de Camuy donde fue atendido negligentemente el co-
demandante, Nelson Hernandez Graulau por el Dr. George Maldonado y demas
personal, alguno de ellos 0 todos ellos incurrieron en negligencia durante el dia 27
de julio de 2018, por cuanto, apartandose de la mejor practica de la medicina,
omitieron efectuar las pruebas diagnosticas necesarias para determinar las causas
y desarrollo de los padecimientos del demandante, omitieron controlar dicho
padecimiento, omitieron brindar el tratamiento médico adecuado para controlar la
enfermedad del paciente y permitieron que se desarrollara Intracerebral
hemorrhage (ICH) - lado izquierdo (cerebellar stroke), graves y severas secuelas y

otras compilaciones, todos los dafos aqui resefiados.

26. El co-demandado CDT de Camuy fue negligente al no brindar tratamiento
meédico adecuado y agresivo para los sintomas claros de un desarrollo (inminente)
y/o en proceso de un derrame cerebral que presentaba el co-demandante, Nelson
Hernandez Graulau, cuando éste fue a ese centro de cuidado. En la alternativa, el
co-demandado CDT DE CAMUY no transfirid o refirid al seAor Hernandez Graulau
a otro centro de salud de inmediato para que recibiera la atencidn adecuada a

tiempo para la condicién que era de emergencia ante los sintomas claros de un

 

desarrollo (inminente) y/o en proceso de un derrame cerebral, lo que causé que
posteriormente (al dia siguiente) el sefior Hernandez Graulau, sufriera Intracerebral

hemorrhage (ICH) - lado izquierdo (cerebellar stroke), graves y severas secuelas y
los dafios resefiados.

 

“ paralisis del lado derecho del cuerpo lo que le Incapacita para realizar movimientos.
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27. El médico de turno, Dr. George Maldonado, que atendié ese 27 de julio de
2018 al co-demandante, Nelson Hernandez Graulau en el CDT de Camuy fue
negligente de forma crasa al no brindar el tratamiento adecuado conforme a la
practica prevaleciente de la medicina con dicho paciente y al proceder con descuido

caus6 el grave dafio permanente al co-demandante, Nelson Hernandez Graulau.

28. El co-demandado Dr. George Maldonado fue negligente con el manejo del
co-demandante, Nelson Hernandez Graulau al no tomar las medidas necesarias

para prevenir los dafios ocasionados, lo que constituye un acto de impericia.

29. El co-demandado CDT de Camuy donde fue atendido negligentemente el
co-demandante, Nelson Hernandez Graulau por el médico de dicha institucion,
Dr. George Maldonado y demas personal, y cada uno de ellos, algunos de ellos o
todos ellos incurrieron en negligencia crasa durante el 27 de julio de 2018, por
cuanto, apartandose de la mejor practica de la medicina, omitieron su deber de
cuidado y tratamiento adecuado y diligente, lo que causé con tal negligencia crasa
que el sefior Hernandez Graulau sufra severos dafos por no haber recibido un

tratamiento, adecuado, correcto y oportuno.

30. Fue negligente el co-demandado Dr. George Maldonado y el personal
médico del co-demandado CDT de Camuy al no examinar adecuadamente ni
brindar tratamiento médico adecuado ni realizar un adecuado y correcto
procedimiento causando con dicha negligencia crasa los dafios aqui resefiados por
no haber sido tratado correctamente y a tiempo ocasionando los dafios antes
mencionados.

31. La negligencia del co-demandado Dr. George Maldonado se perfecciona
cuando apartaéndose de la mejor practica de medicina, no ordeno el tratamiento
adecuado ante el cuadro clinico del sefior Hernandez Graulau; no transfirid o refirié
de inmediato a otra institucién al co-demandante, Nelson Hernandez Graulau
para que recibiera la atenci6n adecuada a tiempo para la condiciédn que era de
emergencia ante los sintomas claros de un desarrollo (inminente) y/o en proceso de

un_derrame cerebral, por lo que causé con dicha negligencia crasa Intracerebral

 

hemorrhage (ICH) - lado izquierdo (cerebellar stroke), graves y severas secuelas y
los dafios resefiados al co-demandante, Nelson Hernandez Graulau, por lo que

responde vicariamente y solidariamente por los actos negligentes.

32. Un medico incurre en negligencia, cuando en el desempefio de sus

funciones no ofrece “aquella atencién medica que a la luz de los modernos medios
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de comunicacién y ensefianzas y conforme al estado de conocimiento de la ciencia

satisface la practica prevaleciente en la medicina”.

33. El personal de la referida institucion (CDT de Camuy), omitid
negligentemente controlar dicho padecimiento, mediante el uso de tratamiento
médico correcto y oportuno, o en su defecto, omitid negligentemente trasladar o
referir de inmediato a dicho paciente a otra facilidad médico-hospitalaria para que
recibiera la atenciédn adecuada a tiempo para la condicién que era de emergencia
ante los sintomas claros de un desarrollo (inminente) y/o en proceso de un derrame
cerebral. Dichas omisiones fueron las causantes de que el co-demandante,
Nelson Hernandez Graulau, sufriera y sufra los dafios aqui resefiados.

34. El co-demandado, CDT de Camuy, es responsable por los actos u
omisiones de los médicos que conforman su facultad médica, asi como del personal
- que emplean, conforme al articulado legal que establece la Responsabilidad Vicaria

del patrono ante actuaciones negligentes incurridas por sus empleados.

35. El co-demandado CDT de Camuy donde fue atendido negligentemente el
co-demandante, Nelson Herndndez Graulau, responde  vicariamente y
solidariamente dicho CDT por los actos negligentes que cometieron los empleados
0 agentes, a saber, facultad medica o personal de apoyo médico, de la institucién
de quien se beneficia econdmicamente y que Causaron, o contribuyeron a causar a

los dafios reclamados que sufrieran y sufren los Demandantes.

36. El doctor co-demandado Dr. George Maldonado, para el pasado 27 de
julio de 2018, formaba parte de la facultad medica del co-demandado CDT de
Camuy, y éste incurrid en negligencia al atender y tratar al co-demandante,
Nelson Hernandez Graulau en dicho CDT, apartandose de la mejor practica de la

atencion medica, por proceder con el paciente de forma negligentemente crasa, por
lo que incurrieron en negligencia.

37. El co-demandado CDT de Camuy, es responsable solidariamente por los
actos u omisiones de los médicos que conforman su facultad médica, asi como del
personal que emplean conforme al ordenamiento juridico vigente, que establece la

Responsabilidad Vicaria del patrono ante actuaciones negligentes incurridas por sus
empleados.

38. La co-demandada Corporacié6n “X”, administradora del co-demandado,

CDT de Camuy, responde solidaria y vicariamente por los actos negligentes que
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cometieran los empleados o agentes, a saber, facultad médica o personal de apoyo

médico, de la_ institucion hospitalaria que administra y que causaron, o

contribuyeron a causar los dafos  sufridos por el co-demandante, Nelson
Hernandez Graulau.

39, El co-demandado Dr. George Maldonado, médico de profesién, quien el
dia 27 de julio de 2018 estuvo a cargo de atender, examinar, diagnosticar y tratar
médicamente al co-demandante, Nelson Herndndez Graulau en el CDT de
Camuy, que al hacerlo incurrié en los actos y omisiones negligentes, los aqui
mencionados, con los que causé todos los dafios que se reclaman, y responde
solidariamente con los demas co-demandados.

40. La co-demandada Sociedad Legal de Gananciales constituida por el
co-demandado Dr. George Maldonado y su esposa Sutana de Tal, quienes se
beneficiaron de los actos de éste, por lo que son responsables ante /os
demandantes por los dafios cuya indemnizacién mas adelante se reclama.

41. El co-demandado, Fulano De Tal, responde(n), ya sea por ser los
administradores y/o poseedores ylo encargados de las facilidades médicas
co-demandadas y/o por cualquier otra responsabilidad que surja_ del
descubrimiento de prueba a realizarse, y responde solidariamente con los demas
co-demandados.

42. En la alternativa, el co-demandado John Doe, persona natural o juridica de
identidad desconocida; y que es responsable por las actuaciones negligentes que

en esta demanda se relacionan, y responde solidariamente con los demas co-
demandados.

43. Responden las co-demandadas Compafiias Aseguradoras “A”, “B’ yla“c’,
cuyos verdaderos nombres se desconocen al presente, por mantener en vigor
polizas de seguros a favor de los co-demandados, para responder ante los co-
demandantes por los dafios cuya indemnizacién se reclama en la presente

Demanda, y responden solidariamente con los demas co-demandados.

44. Los co-demandados por accién u omisién fueron negligentes por los hechos

aqui resefiados por lo que responden a los demandantes solidariamente.
 

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DANOS

45. Como consecuencia de la negligencia de los co-demandados, segun se ha
descrito la misma en los parrafos anteriores, los co-demandantes sufrieron, sufren
y seguiran sufriendo los siguientes dafios por los cuales reclaman la
correspondiente indemnizacién.

46. Como consecuencia de la negligencia de los co-demandados, segun se ha
descrito la misma en los  parrafos anteriores, el co-demandante, Nelson
Hernandez Graulau, sufrid Intracerebral hemorrhage (ICH) - lado izquierdo
(cerebellar stroke), severas secuelas y complicaciones que le causé pardlisis
(hemiplejia*) del lado derecho del cuerpo y le incapacita para realizar movimientos,
le causa dolor ffsico, severa dificultar de ambulaci6n, dificultad del habla y dafio
visual e incapacidad para continuar trabajando, lo que ademas le causa severas y
profundas angustias mentales.

47. El co-demandante, Nelson Herndndez Graulau sufrid, sufre y seguira
sufriendo profundas y severas angustias mentales y depresison por los dafios, antes
mencionados, lo que sin lugar a dudas tiene un efecto por disturbios emocionales
por el influjo indeseable de su condicién, ademas temor e incomodidades de ser
estigmatizado por sus diferencias fisicas, y por todas las severas secuelas por no
haber recibido un tratamiento adecuado, correcto y oportuno, lo que le causa
severas angustias a causa del mal manejo médico en el CDT de Camuy, aquel 27
de julio de 2018

48. Los dafios ocasionados al co-demandante, Ne/son Hernandez Graulau le
han privado del disfrute de la buena calidad de vida que mantenia con anterioridad
a los hechos resefiados en esta demanda.

49. En adicién a las molestias ffsicas que le aquejan, al co-demandante,
Nelson Hernandez Graulau, ha sufrido graves angustias mentales al experimentar
la pérdida de movilidad e independencia de la que disfrutaba previo a los hechos en
esta Demanda resefiados.

es
* Pardlisis del lado derecho del cuerpo lo que le incapacita para realizar movimientos.
   

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Demanda

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50. El co-demandante, Nelson Hernandez Graulau, sufrid, sufre y seguira
sufriendo dafios que son como consecuencias directas de los actos negligentes de
los co-demandados, a causa del mal manejo médico en el CDT de Camuy y del
. personal que alli lo atendié incluyendo al co-demandado Dr. George Maldonado,

aquel 27 de julio de 2018, por lo que reclama los siguientes dafios:

(a) Por concepto de todos los dafios fisicos—$4,500,000.00;

(b) Por concepto de angustias mentales -$2,000,000.00;

(c) Por concepto de lucro cesante — $1 900,000.00;

(d) Por concepto de gastos futuros de cuido y tratamiento—$3,500,000.00;

51. Indudablemente la co-demandante Ana M. Graulau Collazo, ha sufrido,
sufre y seguira sufriendo graves y profundas angustias mentales al experimentar
los severos dafios que sufrié y sufre su amado hijo Nelson Hernéndez Graulau,
(los antes mencionados) a consecuencia de la negligencia de los co-demandados,
la antes resefiada. Esta madre sufre una profunda angustia por todas las
consecuencias adversas a la que esta expuesto su amado hijo por haber sufrido y
sufrir los severos dafios aqui resefiados, a causa del mal manejo medico en el CDT
de Camuy y del personal que alli lo atendio, aquel 27 de julio de 2018. Se reclama
los dafios de esta madre en una partida valorada en una cantidad no menor de
Quinientos Mil ($500,000.00) Délares.

EN MERITO DE LO CUAL, se suplica muy respetuosamente del Honorable
Tribunal, declare CON LUGAR la presente Demanda Enmendada y en su
consecuencia ordene a los co-demandados, solidariamente, a pagar las sumas
reclamadas, mas una suma en concepto de costas, gastos y honorarios de

Abogada, mas el interés legal sobre todas dichas sumas computado desde la
presentacion de la demanda.

RESPETUOSAMENTE SUSCRITA en Arecibo, Puerto Rico, hoy 27 de julio de
2019.

f/ Tutte FantaupysValentin
LCDA. IVETTE FANTAUZZI -VALENTIN
Num. R.U.A.: 13.884
PO Box 518
Arecibo, Puerto Rico 00613-0518
Tel.: 787-374-0925
Fax: 787-879-2166
e-mail: Icda.fantauzzi@gmail.com
